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                         EXHIBIT “A”
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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                                    :   CHAPTER 11

SCUNGIO BORST & ASSOCIATES, LLC                           :   BANKRUPTCY NO. 22-10609(AMC)

                                   Debtor             :


ORDER APPROVING APPLICATION OF DEBTOR FOR THE ENTRY OF AN ORDER
AUTHORIZING THE RETENTION AND EMPLOYMENT OF BOCHETTO & LENTZ,
 P.C. AS SPECIAL LITIGATION COUNSEL PURSUANT TO 11 U.S.C. §§ 327(e) AND
     328(a), FED. R. BANKR. P. 2014 AND LOCAL BANKRUPTCY RULE 2014-1

         AND NOW, upon consideration of the application (the “Application”)^ of Scungio

Borst & Associates, LLC for entry of an Order, pursuant to sections 327(e) and 328(a) of title 11

of the United States Code, Rule 2014 of the Federal Rules of Bankruptcy Procedure, and 2014-1

of the Local Rules for the United States Bankruptcy Court for the Eastern District of Pennsylvania,

authorizing the retention and employment of Bochetto & Lentz, P.C. as special litigation counsel

in this chapter 11 case to provide legal services to the Debtor; and upon the Lentz

Declaration; and the Court being satisfied, based upon the representations made in the Application

and the Lentz Declaration, that B&L represents no interest adverse to the Debtor’s estate or its

creditors with respect to the matters upon which it is to be engaged, that it is a disinterested person

as that term is defined under section, 101(14) of the Bankruptcy Code, and that its employment is

necessary and in the best interests of the Debtor’s estate; and it appearing that proper and adequate

notice has been given and that no other or further notice is necessary; and after due deliberation,

and good and sufficient cause appearing therefore, it is hereby ORDERED that:

         1.               The Application is granted to the extent provided herein.

         2.               Pursuant to sections 327(e) and 328(a) of the Banki’uptcy Code, Bankruptcy Rule


' Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Application.
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2014(a), and Local Rule 2014-1, the Debtor is hereby authorized to employ B&L as special

litigation counsel, in accordance with the terms set forth in the Application and the Lentz

Declaration.

          3.   The terms of B&L’s compensation set forth in the Application are preapproved

under 11 U.S.C. Section 328(a).

          4.   B&L shall be entitled to be paid the Costs and Expenses pursuant to the terms set

forth in the Application without the necessity of filing fee applications in accordance with

Sections 330 and 331 of the Bankruptcy Code.

          5.   In connection to the Contingent Fee and the Unpaid Costs, B&L shall apply for

compensation and reimbursement in accordance with the procedures set forth in sections 330 and

331 of the Bankruptcy Code, applicable Bankruptcy Rules, the Local Bankruptcy Rules and orders

of the Court, and such other procedures that may be fixed by order of this Court.

          6.   To the extent this Order is inconsistent with the Application, this Order shall

govern.

          7.   The Court shall retain jurisdiction to hear and determine all matters arising from

the interpretation and/or implementation of this Order.


                                             BY THE COURT:


Dated:________                               _________________________________
                                             ASHELY M. CHAN,
                                             UNITED STATES BANKRUPTCY JUDGE




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